478 F.2d 853
    83 L.R.R.M. (BNA) 2421, 71 Lab.Cas.  P 13,706
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.PACIFIC ELECTRICAL CONTRACTOR'S ASSOCIATION and itsEmployer-Members in Hawaii, and InternationalBrotherhood of Electrical Workers, Local1186, AFL-CIO, Respondents.
    No. 72-1134.
    United States Court of Appeals,Ninth Circuit.
    May 21, 1973.
    
      Stan R. Zirkin (argued), Peter G. Nash, Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, NLRB, Washington, D. C., Dennis R. McCarthy, Director, Sub Region 37, NLRB, Honolulu, Hawaii, Elliott Moore, NLRB, Washington, D. C., for petitioner.
      Benjamin C. Sigal (argued), of Shim, Sigal, Ono &amp; Huddy, Vernon F. L. Char, R. Charles Bocken, Wilfred K. Watanabe, of Chuck &amp; Fujiyama, Honolulu, Hawaii, for respondents.
      OPINION
      Before KOELSCH, WRIGHT and TRASK, Circuit Judges.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board determined, one member dissenting, that Pacific Electrical Contractor's Association and Its Employer-Members in Hawaii, and International Brotherhood of Electrical Workers, Local 1186, AFL-CIO (Respondents) are guilty of violating Section 8(e) of the Act (29 U.S.C. Sec. 158(e)) in that respondents entered into a written contract and agreement containing provisions for secondary boycotts.  (192 N.L.R.B. No. 43 (1971)).
    
    
      2
      The matter is here on application of the Board to enforce its ensuing order.
    
    
      3
      The Court, having duly considered the application in the light of the entire record, the briefs and the oral arguments of counsel on this review, adopts the aforesaid decision of the Board as the opinion of this Court.  The Board's order will be enforced as presented-parenthetically, we point out that Respondents' objections to the scope of the proposed order are not properly before this Court and will not be considered.  They were not urged before the Board nor excused because of extraordinary circumstances (29 U.S.C. Sec. 160(e)); N. L. R. B. v. Ochoa Fertilizer Corp., 368 U.S. 318, 82 S.Ct. 344, 7 L.Ed.2d 312 (1961).
    
    
      4
      So ordered.
    
    